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 Federal jurisdiction. (Page 1, lines 23-24 admits). Defendant also attests to acting
 in their official capacity and within the scope of their authority as a government
 official. (Page 2, lines 25-26, 28 admits). 28 U.S.C. § 1343(a)(3).
                             Affirmative Defense Two (2)
 Defendant's affirmative defense invoking Rule 19 is insufficient as a matter of law.
 Defendant has admitted that the jurisdiction and venue is appropriate under 28
 U.S.C. 28 § 1343, 42 U.S.C. § 1983 and 28 U.S.C. § 1391, respectively. (Page 1,
 lines 23-24 admits; Page 2, lines 10-11, admits). (Emphasis added).
                            Affirmative Defense Three (3)
 The affirmative defense of insufficient service is insufficient as a matter of fact and
 law. The Defendant confirms the parties in the case. (Page 2, lines 17-20, 22-23
 admits). (Emphasis added). “Rule 4 is a flexible rule that should be construed
 liberally so long as the party receives sufficient notice of the complaint.” United
 Food & Commercial Workers Union, Locals 197, 373, 428, 588, 775, 839, 870,
 1119, 1179, and 1532, chartered by United Food & Commercial Workers
 International Union, AFL-CIO v. Alpha Beta Co., 736 F.2d 1371(9th Cir. 1984).
                            Affirmative Defense Four (4)
 The affirmative defense that the Plaintiff has failed to “comply” with state tort or
 otherwise is insufficient as a matter of law. Plaintiff chose federal jurisdiction
 according to statute 42 U.S.C. 1331 and Knick v. Twp. of Scott, 139 S. Ct. 2162
 (2019). The Williamson County Regional Planning Commission v. Hamilton Bank
 of Johnson City, 473 U.S. 172 (1985) finality requirement has been admitted by the
 Defendant. (Page 3, lines 26-28 admits; Page 4, lines 6-10, 12-19 admits).
                             Affirmative Defense Five (5)
 Plaintiff has one (1) claim, and if indeed, there was no claim to constitute a cause
 of action, then the case would be dismissed by the Court under statute 42 U.S.C. §
 1915(e)(2)(B)(ii), as a matter of law.

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                                      Affirmative Defense Six (6)
 This affirmative defense is insufficient as a matter of law and fact. The Defendant
 has not provided any evidence or reasoning to show how an open space dedication
 document would preclude a Takings claim. The Defendant's own admission reveals
 the specific reason for the REJECTED application. (Page 3, lines 26-28; Page 4,
 lines 1-2, 6-10, 12-19). (Emphasis added).
                                 Affirmative Defense Seven (7)
 This affirmative defense is insufficient as a matter of fact. The Plaintiff had no
 reasonable investor expectations for installing and operating a utility-scale solar
 facility on Plaintiff’s private property? (Citations omitted).
                                 Affirmative Defense Eight (8)
 Defendant's affirmative defense negates a Plaintiff's claim is insufficient as a
 matter of fact and law. The Defendant admits the overlay encompasses the entire
 property and that the project was wholly within and covering the entire parcel.
 (Page 4 lines 1-2, 16-17, 23-25) Murr v. Wisconsin,137 S. Ct. 1933 (2017).
 (Emphasis added).

 THEREFORE, the Plaintiff asks the Court to strike the affirmative defenses
 submitted by Defendant to minimize delay, cost, and confusion on the issues for
 discovery and trial.2




 “I declare (or certify, verify, or state) under penalty of perjury under the laws of the
 United States of America that the foregoing is true and correct.”


 Clinton Brown                                                      03/19/2023

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     The Federalist No. 83, (1788).


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